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 4                               UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6
 7   UNITED STATES,                            )
                                               )
 8                     Plaintiff,              )                Case No. 2:11-cr-00327-PMP-CWH
                                               )
 9   vs.                                       )                ORDER
                                               )
10   MICHAEL PAUL MATULICH,                    )
                                               )
11                     Defendants.             )
     __________________________________________)
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            This matter is before the Court on Defendant Michael Paul Matulich’s Motion for Release
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     on Personal Recognizance or Bail (#43), filed February 7, 2012. Defendant did not file this motion
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     through his appointed counsel. Pursuant to LR IA 10-6(a), “[a] party who has appeared by attorney
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     cannot while so represented appear or act in the case.” Accordingly,
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            IT IS HEREBY ORDERED that Defendant Michael Paul Matulich’s Motion for Release
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     on Personal Recognizance or Bail (#43) is denied without prejudice. Defendant must file any
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     motion through his appointed counsel.
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            DATED this 13th day of February, 2012.
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22                                               ______________________________________
                                                 C.W. Hoffman, Jr.
23                                               United States Magistrate Judge
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